         Case 1:20-cr-00330-AJN Document 303 Filed 06/25/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                       6/25/2021


  United States of America,

                 –v–
                                                                    20-cr-330 (AJN)
  Ghislaine Maxwell,
                                                                        ORDER
                        Defendant.




ALISON J. NATHAN, District Judge:

       Maxwell’s motions to suppress evidence (Dkt. Nos. 133, 139) are DENIED. The Court

sets out its reasoning in an opinion concurrently filed under temporary seal to allow Maxwell and

the Government the opportunity to propose redactions. The parties may file under seal any

proposed redactions to the opinion within three days.

       The Court further ORDERS that the April 9, 2019 memorandum decision and order on

the Government’s application to modify the protective order in Giuffre v. Maxwell, No. 15-cv-

7433, as well as the transcripts of the March 26, 2019 and April 9, 2019 ex parte hearings on that

application shall be unsealed. These documents were previously filed under seal as Exhibits D,

E, F, and G to the memorandum of law in support of Maxwell’s first motion to suppress (Dkt.

No. 134). Within one week, the parties shall confer and file under seal any proposed redactions

to the memorandum decision, order, and transcripts.

       Any proposed redactions shall be narrowly tailored and shall be supported with reference

to the Second Circuit’s opinion in Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110 (2d Cir.

2006). The parties’ proposed redactions should not include any information that has already

been made public.
      Case 1:20-cr-00330-AJN Document 303 Filed 06/25/21 Page 2 of 2




     SO ORDERED.



Dated: June 25, 2021
       New York, New York
                                     ____________________________________
                                               ALISON J. NATHAN
                                             United States District Judge




                                    2
